         CASE 0:20-cv-01872-PJS-ECW Doc. 23 Filed 11/25/20 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 Brandon Ehlis, on behalf of himself and all        Court File No. 20-cv-01872-PJS-ECW
 others similarly situated,

                              Plaintiffs,
                                                    STIPULATION TO AMEND
 v.                                                 BRIEFING SCHEDULE

 DAP Products Inc.,

                              Defendants.



        The parties by and through their undersigned counsel stipulate and jointly move to

modify the Motion to Dismiss Briefing Order and submit the following in support of this

stipulation:

        WHEREAS, Plaintiff’s opposition to Defendant’s Motion to Dismiss Plaintiff’s

Complaint is due December 4, 2020 and Defendant’s reply brief is due December 18,

2020.

        WHEREAS, in light of the upcoming holidays, the parties have agreed that good

reason exists to extent the filing deadlines in this matter so that Plaintiff’s opposition to

Defendant’s Motion to Dismiss Plaintiff’s Complaint shall be due December 11, 2020

and Defendant’s reply brief shall be due January 5, 2021. All other dates in this matter

will remain in place.

        NOW, THEREFORE, the parties hereby stipulate and agree as follows:
       CASE 0:20-cv-01872-PJS-ECW Doc. 23 Filed 11/25/20 Page 2 of 3




     1. Plaintiff shall have through and including December 11, 2020 to file his

        opposition to Defendant’s Motion to Dismiss Plaintiff’s Complaint.

     2. Defendant shall have through and including January 5, 2021 to file its reply

        brief.

     3. The parties stipulate to the entry of an appropriate order so providing.


Dated: November 25, 2020                       Respectfully submitted,

                                                s/David A. Goodwin
                                               GUSTAFSON GLUEK PLLC
                                               Daniel E. Gustafson (#202241)
                                               David A. Goodwin (#386715)
                                               Kaitlyn L. Dennis (#397433)
                                               120 South Sixth Street,
                                               Suite 2600
                                               Telephone: (612) 333-8844
                                               Facsimile: (612) 339-6622
                                               dgustafson@gustafsongluek.com
                                               dgoodwin@gustafsongluek.com
                                               kdennis@gustafsongluek.com


                                               ZIMMERMAN REED, LLP
                                               Brian C. Gudmundson, Reg. No. 336695
                                               Michael J. Laird, Reg. No. 398436
                                               1100 IDS Center
                                               80 South Eighth Street
                                               Minneapolis, MN 55402
                                               Telephone: 612-341-0400
                                               Email:
                                               brian.gudmundson@zimmreed.com
                                               Email: michael.laird@zimmreed.com

                                               ATTORNEYS FOR PLAINTIFF




                                           2
       CASE 0:20-cv-01872-PJS-ECW Doc. 23 Filed 11/25/20 Page 3 of 3




Dated: November 25, 2020
                                         s/ Russell S. Ponessa__________
                                         HINSHAW & CULBERTSON LLP
                                         Russell S. Ponessa, Reg. No. 169316
                                         Anju Suresh, Reg. No. 0397080
                                         333 South Seventh Street, Suite 2000
                                         Minneapolis, MN 55402
                                         Telephone: 612-333-3434
                                         Email: rponessa@hinshawlaw.com
                                         Email: asuresh@hinshawlaw.com

                                         ARMSTRONG TEASDALE, LLP
                                         (Pro Hac Vice Motions Pending)
                                         Charles W. Steese, CO Reg. No. 26924
                                         IJay Palansky, CO Reg. No. 53431
                                         Alec Harris, CO Reg. No. 47547
                                         Amber Gonzales, CO Reg. No. 49993
                                         4643 S. Ulster Street, Suite 800
                                         Denver, CO 80237
                                         Telephone: 720-200-0676
                                         csteese@armstrongteasdale.com
                                         ipalansky@armstrongteasdale.com
                                         aharris@armstrongteasdale.com
                                         agonzales@armstrongteasdale.com

                                         ATTORNEYS FOR DEFENDANT
                                         DAP PRODUCTS, INC.




                                    3
